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                                                    Toshiba America, Inc.,
                                               10
                                                    Toshiba America Consumer Products, LLC,
                                               11   Toshiba America Information Systems, Inc.,
                                                    and Toshiba America Electronic Components, Inc.
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                                               13                              UNITED STATES DISTRICT COURT
                                                                              NORTHERN DISTRICT OF CALIFORNIA
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                                                                                 (SAN FRANCISCO DIVISION)
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                                                    IN RE: CATHODE RAY TUBE (CRT)                          Case No. 07-5944 SC
                                               17   ANTITRUST LITIGATION                                     MDL No. 1917
                                               18
                                               19   This Document Relates To:
                                               20                                                     DECLARATION OF
                                                    Sharp Electronics Corp., et al. v. Hitachi
                                                                                                      LUCIUS B. LAU IN SUPPORT OF
                                               21   Ltd., et al., Case No. 13-cv-1173
                                                                                                      DEFENDANTS’ JOINT MOTION
                                               22                                                     IN LIMINE NO. 9 TO EXCLUDE
                                                    Sharp Electronics Corp., et al. v.
                                                                                                      CERTAIN EXPERT TESTIMONY
                                               23   Koninklijke Philips Elecs., N.V., et al.,
                                                                                                      OF JERRY A. HAUSMAN
                                                    Case No. 13-cv-2776
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                                                                                        DECLARATION OF
                                                       LUCIUS B. LAU IN SUPPORT OF DEFENDANTS’ JOINT MOTION IN LIMINE NO. 9 TO EXCLUDE
                                                                        CERTAIN EXPERT TESTIMONY OF JERRY A. HAUSMAN
                                                                                 Case No. 07-5944-SC, MDL No. 1917
                                                    Case 4:07-cv-05944-JST Document 3591-1 Filed 02/13/15 Page 2 of 7




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                                                    DECLARATION OF LUCIUS B. LAU IN SUPPORT OF DEFENDANTS’ JOINT NOTICE OF MOTION
                                                         AND MOTION TO EXCLUDE CERTAIN EXPERT TESTIMONY OF PROF. ELZINGA
                                                                                   Case No. 07-5944 SC
                                                                                      MDL No. 1917
                                                       Case 4:07-cv-05944-JST Document 3591-1 Filed 02/13/15 Page 3 of 7




                                                1   I, Lucius B. Lau, hereby declare as follows:
                                                2          1.      I am an attorney with the law firm of White & Case LLP, counsel for
                                                3   Defendants Toshiba Corporation, Toshiba America, Inc., Toshiba America Consumer
                                                4   Products, LLC, Toshiba America Information Systems, Inc., and Toshiba America Electronic
                                                5   Components, Inc. (collectively, the “Toshiba Defendants”).
                                                6          2.      I submit this declaration in support of Defendants’ Joint Motion In Limine
                                                7   No. 9 to Exclude Certain Expert Testimony of Jerry A. Hausman. Except for those matters
                                                8   stated on information and belief, which I believe to be true, I have personal knowledge of the
                                                9   facts stated herein, and I could and would competently testify thereto if called as a witness.
                                               10          3.      Attached hereto as Exhibit A is a true and correct copy of the Expert Report of
                                               11   Jerry A. Hausman, dated April 15, 2014.
                                               12          4.      Attached hereto as Exhibit B is a true and correct copy of the Supplemental
                   701 Thirteenth Street, NW
                    Washington, DC 20005
White & Case LLP




                                               13   Expert Report of Jerry A. Hausman, dated July 3, 2014.
                                               14          5.      Attached hereto as Exhibit C is a true and correct copy of the Rebuttal Expert
                                               15   Report of Jerry A. Hausman, dated Sept. 26, 2014.
                                               16          6.      Attached hereto as Exhibit D is a true and correct copy of Sharp’s First
                                               17   Supplemental Responses and Objections to Defendants Hitachi Electronic Devices (USA),
                                               18   Inc. and Samsung SDI America, Inc.’s First Set of Interrogatories, dated Feb. 26, 2014.
                                               19          I declare under penalty of perjury under the laws of the United States of America that
                                               20   the foregoing is true and correct.
                                               21          Executed this 13th day of February, 2015, in Washington, D.C.
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                                                                                                                     Lucius B. Lau
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                                                                                       DECLARATION OF
                                                      LUCIUS B. LAU IN SUPPORT OF DEFENDANTS’ JOINT MOTION IN LIMINE NO. 9 TO EXCLUDE
                                                                       CERTAIN EXPERT TESTIMONY OF JERRY A. HAUSMAN
                                                                                Case No. 07-5944-SC, MDL No. 1917
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 EXHIBIT A
               (Filed Under Seal)
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 EXHIBIT B
               (Filed Under Seal)
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 EXHIBIT C
               (Filed Under Seal)
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 EXHIBIT D
               (Filed Under Seal)
